Case 1:04-cr-10075-.]DT Document 7 Filed 05/20/05 Page l of 2 Page|D 9

UNITED sTATEs DISTRICT COURT F"“ED E"'»-------D'C-

WESTERN DISTRICT OF TENNESSEE
Eastern Division 05 HM 20 PH l"= 30

Fi'§)f$§f-`€'l' Fi. D| TFEOLIO

W. D. OF TN JACKSON
-vs- Case No. 1:04cr10075-001T
MELVIN STEWART III

 

ORDER OF DETENTION PEND|NG _TRIAL
FlND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DIRECT|ONS REGARD|NG DETENT|ON

MELVIN STEWART is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicableJ from persons awaiting or serving sentences
or being held in custody pending appeal. MELVIN STEWART shall be afforded areasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
govemment, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection With a Court proceeding.

Date: May 20, 2005 S.TZW=| @-

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:04-CR-10075 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

